Case 3:15-cv-01090-WQH-BGS     Document 1      Filed 05/14/15   PageID.1   Page 1 of 19




 1   Ryan Thompson (#296841)
     WATTS GUERRA LLP
 2
     525 South Douglas Street, Suite 260
 3   El Segundo, California 90245
     Telephone: (424) 220-8141
 4
     Facsimile: (424) 732-8190
 5   rthompson@wattsguerra.com
 6
     Attorneys for Plaintiffs
 7   Additional Counsel on Signature Page
 8
                        UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10

11   PATRICK SCARRY, individually and )
     on behalf of similarly situated  )
12
     persons,                         )
13                                    )            Case No.: '15CV1090 WQHBGS
                          Plaintiff,  )
14
                                      )            CLASS AND COLLECTIVE
15   v.                               )            ACTION COMPLAINT
                                      )
16
     SUMMIT RESTAURANT GROUP,         )
17   LLC, SUMMIT PIZZA, INC.,         )
     SUMMIT RESTAURANTS, LLC,         )            JURY TRIAL DEMANDED
18
     SUMMIT INTERESTS, LLC,           )
19   SUMMIT FARE, LLC, ARKANSAS       )
     PIZZA, INC. and SUMMIT PIZZA     )
20
     WEST, LLC                        )
21                                    )
                          Defendants. )
22

23
         Plaintiff Patrick Scarry, individually and on behalf of all other similarly
24
     situated delivery drivers, for his Complaint against Defendants, alleges as
25
     follows:
26
       1. Defendants operate approximately 117 Pizza Hut franchise stores in
27
     California, Arkansas, Missouri and Oklahoma. Defendants employ delivery
28

                                              -1-
                                            Complaint
Case 3:15-cv-01090-WQH-BGS      Document 1    Filed 05/14/15   PageID.2   Page 2 of 19




 1
     drivers who use their own automobiles to deliver pizza and other food items
 2
     to Defendants’ customers. Instead of reimbursing their delivery drivers for the
 3
     reasonably approximate costs of the business use of their vehicles, Defendants
 4
     use a flawed method to determine reimbursement rates that provides such an
 5
     unreasonably low rate beneath any reasonable approximation of the expenses
 6
     they incur that the drivers’ unreimbursed expenses cause their wages to fall
 7
     below the federal and California minimum wages during some or all
 8
     workweeks.
 9
        2. Plaintiff Patrick Scarry brings this lawsuit as a collective action under the
10   Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., and as a class
11   action under California law to remedy wage and hour violations by
12   Defendants, who engaged in a pervasive and unlawful scheme to deprive
13   their employees of the protections granted them under federal and California
14   wage and hour law.
15                               Jurisdiction and Venue
16      3. The FLSA authorizes court actions by private parties to recover damages
17   for violation of their wage and hour provisions. Jurisdiction over Plaintiff’s
18   claims is based on 29 U.S.C. § 216(b), 28 U.S.C. § 1331 (federal question) and
19   28 U.S.C. § 1367 (pendent claims).
20      4. Venue in this District is proper under 28 U.S.C. § 1391 because
21   Defendants operate Pizza Hut franchise stores in this District, Defendants
22   employ Plaintiff in this District, and a substantial part of the events giving rise
23   to the claim herein occurred in this District.
24
                                          Parties
25
        5. Defendants Summit Restaurant Group, LLC, Summit Restaurants, LLC,
26
     Summit Interests, LLC and Summit Fare, LLC are Missouri limited liability
27
     companies which, together with the other Defendants, operate a chain of
28

                                            -2-
                                          Complaint
Case 3:15-cv-01090-WQH-BGS      Document 1   Filed 05/14/15   PageID.3   Page 3 of 19




 1
     Pizza Hut stores, including stores located within the Southern District of
 2
     California.
 3
        6. Defendant Summit Pizza, Inc. is a Missouri corporation which, together
 4
     with the other Defendants, operates a chain of Pizza Hut stores, including
 5
     Pizza Hut stores located within the Southern District of California.
 6
        7. Defendant Arkansas Pizza, Inc. is an Arkansas corporation which,
 7
     together with the other Defendants, operates a chain of Pizza Hut stores,
 8
     including stores located within the Southern District of California.
 9
        8. Defendant Summit Pizza West, LLC is a California limited liability
10   company which, together with the other Defendants, operates a chain of Pizza
11   Hut stores, including stores located within the Southern District of California.
12      9. Defendants are liable for each other’s acts and omissions because they
13   constitute a single employer or single integrated enterprise as they share
14   common ownership, common management, centralized control of labor
15   relations, and interrelation of operations.
16      10. Alternatively, Defendants are liable for each other’s acts and omissions
17   because they constitute joint employers as they share power to hire and fire
18   employees, share supervision and control of employee work schedules or
19   conditions of employment, jointly determine the rate and method of payment,
20   and jointly maintain employment records.
21      11. Alternatively, because the work performed by Plaintiff and all other
22   delivery drivers simultaneously benefited all Defendants and directly or
23   indirectly furthered their joint interests, Defendants are collectively the joint
24   employers of Plaintiff and other similarly situated employees under the
25   FLSA’s broad definition of “employer.”
26      12. Plaintiff Patrick Scarry has been employed by Defendants since
27   approximately September 2007 as a delivery driver at their Pizza Hut store in
28   San Diego, California, which is located within the Southern District of
                                            -3-
                                          Complaint
Case 3:15-cv-01090-WQH-BGS      Document 1   Filed 05/14/15   PageID.4   Page 4 of 19




 1
     California. Plaintiff Scarry’s Consent to Become a Party Plaintiff under 29
 2
     U.S.C. § 216(b) is attached hereto as Exhibit 1.
 3
                                   General Allegations
 4
     Defendants’ Business
 5
        13. Defendants own and operate approximately 117 Pizza Hut franchise
 6
     stores in California, Arkansas, Missouri and Oklahoma.
 7
        14. Defendants’ Pizza Hut stores employ delivery drivers who all have the
 8
     same primary job duty: to deliver pizzas and other food items to customers’
 9
     homes or workplaces.
10   Defendants’ Flawed Reimbursement Policy
11      15. Defendants require their delivery drivers to maintain and pay for safe,
12   legally-operable, and insured automobiles when delivering pizza and other
13   food items.
14      16. Defendants’ delivery drivers incur costs for gasoline, vehicle parts and
15   fluids, repair and maintenance services, insurance, depreciation, and other
16   expenses (collectively “automobile expenses”) while delivering pizzas for the
17   primary benefit of Defendants.
18      17. Defendants’ reimbursement policy reimburses drivers on a per-delivery
19   basis, but given the average delivery distance the per-delivery reimbursement
20   equates to a per mile rate far below the IRS business mileage reimbursement
21   rate or any other reasonable approximation of the cost to own and operate a
22   motor vehicle. This policy applies to all of Defendants’ delivery drivers.
23      18. The result of Defendants’ delivery driver reimbursement policy is a
24   reimbursement of much less than a reasonable approximation of their drivers’
25   automobile expenses.
26      19. During the applicable California limitations period, the IRS business
27   mileage reimbursement rate has ranged between $.51 and $.575 per mile.
28   Likewise, reputable companies that study the cost of owning and operating a
                                            -4-
                                          Complaint
Case 3:15-cv-01090-WQH-BGS     Document 1       Filed 05/14/15   PageID.5   Page 5 of 19




 1
     motor vehicle and/or reasonable reimbursement rates, including the AAA,
 2
     have determined that the average cost of owning and operating a sedan
 3
     vehicle ranged between $.585 and $608 per mile between 2011 and 2014 for
 4
     drivers who drive a sedan about 15,000 miles per year. These figures represent
 5
     a reasonable approximation of the average cost of owning and operating a
 6
     vehicle for use in delivering pizzas.
 7
        20. The Division of Labor Standards Enforcement (“DLSE”), the state
 8
     agency authorized to enforce California’s labor laws, accepts the IRS business
 9
     mileage reimbursement rate as the reasonable per-mile cost of driving a
10   vehicle. See DLSE Opinion Letter No. 1994.09.14, p. 1 (“[T]he DLSE has long
11   recognized the IRS rate for automobile reimbursement as a presumptively
12   reasonable rate.”).
13      21. The driving conditions associated with the pizza delivery business
14   cause more frequent maintenance costs, higher costs due to repairs associated
15   with driving, and more rapid depreciation from driving as much as, and in
16   the manner of, a delivery driver. Defendants’ delivery drivers further
17   experience lower gas mileage and higher repair costs than the average driver
18   used to determine the average cost of owning and operating a vehicle
19   described above due to the nature of the delivery business, including frequent
20   starting and stopping of the engine, frequent braking, short routes as opposed
21   to highway driving, and driving under time pressures.
22      22. Defendants’ reimbursement policy does not reimburse delivery drivers
23   for even their ongoing out-of-pocket expenses, much less other costs they
24   incur to own and operate their vehicle, and thus Defendants uniformly fail to
25   reimburse their delivery drivers at any reasonable approximation of the cost
26   of owning and operating their vehicles for Defendants’ benefit.
27      23. Defendants’ systematic failure to adequately reimburse automobile
28   expenses constitutes a “kickback” to Defendants such that the hourly wages
                                               -5-
                                             Complaint
Case 3:15-cv-01090-WQH-BGS         Document 1   Filed 05/14/15   PageID.6    Page 6 of 19




 1
     they pay to Plaintiff and their other delivery drivers are not paid free and
 2
     clear of all outstanding obligations to Defendants.
 3
        24. Defendants fails to reasonably approximate the amount of their drivers’
 4
     automobile expenses to such an extent that their drivers’ net wages are
 5
     diminished beneath the federal and state minimum wage requirements.
 6
        25. In sum, Defendants’ reimbursement policy and methodology fail to
 7
     reflect the realities of delivery drivers’ automobile expenses.
 8   Defendants’ Failure to Reasonably Reimburse Automobile Expenses Causes
 9   Minimum Wage Violations
10      26. Regardless of the precise amount of the per-delivery reimbursement at
11   any given point in time, Defendants’ reimbursement formula has resulted in
12   an unreasonable underestimation of delivery drivers’ automobile expenses
13   throughout the recovery period, causing systematic violations of the federal
14   and state minimum wage.

15
        27. Plaintiff has been paid exactly the California minimum wage per hour

16
     during his employment with Defendants.

17
        28. The federal minimum wage has been $7.25 per hour since July 24, 2009;

18
     further, the California minimum wage was $8.00 per hour from the beginning

19
     of the class period until June 30, 2014. It increased to $9.00 per hour effective

20
     July 1, 2014. Plaintiff has driven a 1996 Isuzu Rodeo and a 2002 Chevrolet

21
     Tracker while delivering pizzas for Defendants.

22
        29. During   Plaintiff’s     employment      by   Defendants,       the   per   mile

23
     reimbursement rate at the store where Plaintiff worked has been

24
     approximately $1.10 per delivery.

25
        30. During his employment with Defendants, Plaintiff has experienced an

26
     average delivery distance of approximately 4 miles per delivery.

27

28

                                              -6-
                                            Complaint
Case 3:15-cv-01090-WQH-BGS     Document 1    Filed 05/14/15   PageID.7   Page 7 of 19




 1
        31. Thus,   during   his   employment,        Defendants’   average    effective
 2
     reimbursement rate for Plaintiff has been approximately $0.275 ($1.10 per
 3
     delivery / 4 miles per delivery).
 4
        32. Currently, the IRS business mileage reimbursement rate is $.575 per
 5
     mile, which reasonably approximates the automobile expenses incurred
 6
     delivering pizzas. Using the IRS rate as a reasonable approximation of
 7
     Plaintiff’s automobile expenses, every mile driven on the job decreased his net
 8
     wages by approximately $.30 ($.575 - $.275) per mile. Considering Plaintiff’s
 9
     estimate of about 4 miles per delivery, Defendants have under-reimbursed
10   him about $1.20 per delivery ($.30 x 4 miles).
11      33. Defendants have not asked Plaintiff to track his actual automobile
12   expenses, nor is he an expert in the field of calculating the cost of automobile
13   usage. However, Plaintiff’s actual automobile expenses are at the very least
14   $.48 per mile based on the true cost of owning a car calculated by
15   Edmunds.com for comparable vehicles and based on driving 15,000.00 per
16   year. Using even this conservative under-estimate of Plaintiff’s actual
17   expenses, as opposed to the applicable IRS rate, every mile driven on the job
18   decreases his net wages by about $.205 ($.48 - $.275), or about $.82 ($.205 x 4
19   miles) per delivery.
20      34. During his employment by Defendants, Plaintiff has typically averaged
21   approximately 2½ deliveries per hour.
22      35. Thus, depending on whether Defendants’ reimbursement rate is
23   compared to the IRS rate or to a conservative under-estimate of Plaintiff’s
24   actual expenses, Plaintiff has consistently “kicked back” to Defendants
25   between approximately $2.05 per hour ($.82 per delivery x 2.5 deliveries per
26   hour) and $3.00 ($1.20 per delivery x 2.5 deliveries per hour), for an effective
27   hourly wage rate since July 2014 of about $6.00 ($9.00 per hour - $3.00
28   kickback) to about $6.95 ($9.00 per hour - $2.05 kickback).
                                           -7-
                                         Complaint
Case 3:15-cv-01090-WQH-BGS     Document 1    Filed 05/14/15   PageID.8   Page 8 of 19




 1
        36. Plaintiff’s net hourly rate was even lower prior to July 2014 due to his
 2
     then-lesser wage rate.
 3
        37. All of Defendants’ delivery drivers have similar experiences to those of
 4
     Plaintiff. They are subject to the same reimbursement policy; receive similar
 5
     reimbursements; incur similar automobile expenses; complete deliveries of
 6
     similar distances and at similar frequencies; and are paid at or near the federal
 7
     or state minimum wage before deducting unreimbursed business expenses.
 8
        38. Because Defendants pay their drivers a gross hourly wage at precisely,
 9
     or at least very close to, the federal and state minimum wage, and because the
10   delivery drivers incur unreimbursed automobile expenses, the delivery
11   drivers “kick back” to Defendants an amount sufficient to cause minimum
12   wage violations.
13      39. While the amount of Defendants’ actual reimbursements per mile may
14   vary over time, Defendants are relying on the same flawed policy and
15   methodology with respect to all delivery drivers at all of their other Pizza Hut
16   stores. Thus, although reimbursement amounts may differ somewhat by time
17   or region, the amounts of under-reimbursements relative to automobile costs
18   incurred are relatively consistent between time and region.
19      40. Defendants’ low reimbursement rates have been a frequent complaint
20   of at least some of Defendants’ delivery drivers, including Plaintiff, yet
21   Defendants have continued to reimburse at a rate much less than any
22   reasonable approximation of delivery drivers’ automobile expenses.
23      41. The net effect of Defendants’ flawed reimbursement policy is that they
24   willfully fail to pay the federal and state minimum wage to their delivery
25   drivers. Defendants thereby enjoy ill-gained profits at the expense of their
26   employees.
27

28

                                           -8-
                                         Complaint
Case 3:15-cv-01090-WQH-BGS     Document 1    Filed 05/14/15    PageID.9    Page 9 of 19




 1
                         Class and Collective Action Allegations
 2
        42. Plaintiff brings the FLSA claim as an “opt-in” collective action on behalf
 3
     of similarly situated delivery drivers, who may opt-in to this case under 29
 4
     U.S.C. § 216(b).
 5
        43. Plaintiff, individually and on behalf of other similarly situated drivers,
 6
     seeks relief on a collective basis challenging Defendants’ practice of failing to
 7
     pay employees federal and state minimum wage. The number and identity of
 8
     other plaintiffs yet to opt-in may be ascertained from Defendants’ records,
 9
     and potential class members may be notified of the pendency of this action via
10   mail.
11      44. Plaintiff and all of Defendants’ delivery drivers are similarly situated in
12   that:
13            a. They have worked as delivery drivers for Defendants delivering
14               pizza and other food items to Defendants’ customers;
15            b. They have delivered pizza and food items using automobiles not
16               owned or maintained by Defendants;
17            c. Defendants required them to maintain these automobiles in a safe,
18               legally-operable, and insured condition;
19            d. They incurred costs for automobile expenses while delivering
20               pizzas and food items for the primary benefit of Defendants;
21            e. They were subject to similar driving conditions, automobile
22               expenses, delivery distances, and delivery frequencies;
23            f. They were subject to the same pay policies and practices of
24               Defendants;
25            g. They were subject to the same delivery driver reimbursement
26               policy that unreasonably underestimates automobile expenses per
27               mile,   and   thereby   systematically       deprived    of   reasonably
28

                                            -9-
                                          Complaint
Case 3:15-cv-01090-WQH-BGS       Document 1     Filed 05/14/15   PageID.10   Page 10 of
                                        19



 1
                   approximate reimbursements, resulting in wages below the
 2
                   federal and state minimum wage in some or all workweeks;
 3
              h. They were reimbursed similar set amounts of automobile
 4
                   expenses per delivery; and
 5
              i. They were paid at or near the federal or state minimum wage
 6
                   before deducting unreimbursed business expenses.
 7
        45. Plaintiff brings Count II through IV as a class action under Fed. R. Civ.
 8
     P. 23, on behalf of himself and as the Class Representatives of the following
 9
     persons (the “Class”):
10         All current and former delivery drivers employed by Defendants in the
11         State of California since the date four years preceding the filing of this
12         Complaint.
13      46. The state law claims, if certified for class-wide treatment, are brought
14   on behalf of all similarly situated persons who do not opt-out of the Class.
15      47. Plaintiff’s state law claims satisfy the numerosity, commonality,
16   typicality, adequacy, predominance and superiority requirements of a class
17   action under Fed. R. Civ. P. 23.
18      48. The Class satisfies the numerosity standard as it consists of at least
19   hundreds of persons who are geographically dispersed and, therefore, joinder
20   of all Class members in a single action is impracticable.
21      49. Questions of fact and law common to the Class predominate over any
22   questions affecting only individual members. The questions of law and fact
23   common to the Class arising from Defendants’ actions include, without
24   limitation:
25            a. Whether Defendants failed to adequately reimburse Class
26                 members for using their own vehicles to deliver Defendants’
27                 pizzas and other food items,
28

                                            - 10 -
                                          Complaint
Case 3:15-cv-01090-WQH-BGS      Document 1    Filed 05/14/15   PageID.11   Page 11 of
                                       19



 1
               b. Whether Defendants failed to pay Class members the minimum
 2
                 wage required by California law, and
 3
               c. Whether Defendants’ formula and/or methodology used to
 4
                 calculate the payment of reimbursement for vehicle expenses
 5
                 resulted in under-reimbursement of the Class members.
 6
       50. The questions set forth above predominate over any questions affecting
 7
     only individual persons, and a class action is superior with respect to
 8
     considerations of consistency, economy, efficiency, fairness, and equity to
 9
     other available methods for the fair and efficient adjudication of the state law
10   claims.
11     51. Plaintiff’s claims are typical of those of the Class in that:
12             a. Plaintiff and the Class have worked as delivery drivers for
13               Defendants delivering pizza and other food items to Defendants’
14               customers;
15             b. Plaintiff and the Class delivered pizza and food items using
16               automobiles not owned or maintained by Defendants;
17             c. Defendants required Plaintiff and the Class to maintain these
18               automobiles in a safe, legally-operable, and insured condition;
19             d. Plaintiff and the Class incurred costs for automobile expenses
20               while delivering pizzas and food items for the primary benefit of
21               Defendants;
22             e. Plaintiff and the Class were subject to similar driving conditions,
23               automobile expenses, delivery distances, and delivery frequencies;
24             f. Plaintiff and the Class were subject to the same pay policies and
25               practices of Defendants;
26             g. Plaintiff and the Class were subject to the same delivery driver
27               reimbursement policy that underestimates automobile expenses
28               per mile, and thereby systematically deprived of reasonably
                                            - 11 -
                                          Complaint
Case 3:15-cv-01090-WQH-BGS      Document 1     Filed 05/14/15   PageID.12   Page 12 of
                                       19



 1
                 approximate reimbursements, resulting in wages below the state
 2
                 minimum wage in some or all workweeks;
 3
              h. Plaintiff and the Class were reimbursed similar set amounts of
 4
                 automobile expenses per mile; and
 5
              i. Plaintiff and the Class were paid at or near the California
 6
                 minimum      wage    before    deducting       unreimbursed    business
 7
                 expenses.
 8
        52. A class action is the appropriate method for the fair and efficient
 9
     adjudication of this controversy. Defendants have acted or refused to act on
10   grounds generally applicable to the Class.
11      53. Plaintiff is an adequate representative of the Class because he is a
12   member of the Class and his interests do not conflict with the interest of the
13   members of the Class he seeks to represent. The interests of the members of
14   the Class will be fairly and adequately protected by Plaintiff and the
15   undersigned counsel, who have extensive experience prosecuting complex
16   wage and hour, employment, and class action litigation.
17      54. Maintenance of this action as a class action is superior to other available
18   methods for fairly and efficiently adjudicating the controversy as members of
19   the Class have little interest in individually controlling the prosecution of
20   separate class actions, no other litigation is pending over the same
21   controversy, it is desirable to concentrate the litigation in this Court due to the
22   relatively small recoveries per member of the Class, and there are no material
23   difficulties impairing the management of a class action.
24      55. It would be impracticable and undesirable for each member of the Class
25   who suffered harm to bring a separate action. In addition, the maintenance of
26   separate actions would place a substantial and unnecessary burden on the
27   courts and could result in inconsistent adjudications, while a single class
28   action can determine, with judicial economy, the rights of all Class members.
                                            - 12 -
                                          Complaint
Case 3:15-cv-01090-WQH-BGS      Document 1    Filed 05/14/15   PageID.13   Page 13 of
                                       19



 1
                Count I: Violation of the Fair Labor Standards Act of 1938
 2
        56. Plaintiff reasserts and re-alleges the allegations set forth above.
 3
        57. Defendants are subject to the FLSA’s minimum wage requirements
 4
     because they are an enterprise engaged in interstate commerce, and their
 5
     employees are engaged in commerce.
 6
        58. At all relevant times herein, Plaintiff and all other similarly situated
 7
     delivery drivers have been entitled to the rights, protections, and benefits
 8
     provided under the FLSA, 29 U.S.C. §§ 201, et seq.
 9
        59. Section 13 of the FLSA, codified at 29 U.S.C. § 213, exempts certain
10   categories of employees from federal minimum wage obligations. None of the
11   FLSA exemptions apply to Plaintiff or other similarly situated delivery
12   drivers.
13      60. The FLSA regulates, among other things, the payment of minimum
14   wage by employers whose employees are engaged in interstate commerce, or
15   engaged in the production of goods for commerce, or employed in an
16   enterprise engaged in commerce or in the production of goods for commerce.
17   29 U.S.C. §206(a).
18      61. Under Section 6 of the FLSA, codified at 29 U.S.C. § 206, employees
19   have been entitled to be compensated at a rate of at least $7.25 per hour since
20   July 24, 2009.
21      62. As alleged herein, Defendants have reimbursed delivery drivers less
22   than the reasonably approximate amount of their automobile expenses to such
23   an extent that it diminishes these employees’ wages beneath the federal
24   minimum wage.
25      63. Defendants knew or should have known that their pay and
26   reimbursement policies, practices and methodology result in failure to
27   compensate delivery drivers at the federal minimum wage.
28

                                             - 13 -
                                           Complaint
Case 3:15-cv-01090-WQH-BGS      Document 1    Filed 05/14/15   PageID.14   Page 14 of
                                       19



 1
        64. Defendants, pursuant to their policy and practice, violated the FLSA by
 2
     refusing and failing to pay federal minimum wage to Plaintiffs and other
 3
     similarly situated employees.
 4
        65. Plaintiff and all similarly situated delivery drivers are victims of a
 5
     uniform and employer-based compensation and reimbursement policy. This
 6
     uniform policy, in violation of the FLSA, has been applied, and continues to
 7
     be applied, to all delivery driver employees in Defendants’ stores.
 8
        66. Plaintiff and all similarly situated employees are entitled to damages
 9
     equal to the minimum wage minus actual wages received after deducting
10   reasonably approximated automobile expenses within three years from the
11   date each Plaintiffs join this case, plus periods of equitable tolling, because
12   Defendants acted willfully and knew, or showed reckless disregard for,
13   whether their conduct was unlawful.
14      67. Defendants have acted neither in good faith nor with reasonable
15   grounds to believe that their actions and omissions were not a violation of the
16   FLSA, and as a result, Plaintiff and other similarly situated employees are
17   entitled to recover an award of liquidated damages in an amount equal to the
18   amount of unpaid minimum wages under 29 U.S.C. § 216(b). Alternatively,
19   should the Court find Defendants are not liable for liquidated damages,
20   Plaintiff and all similarly situated employees are entitled to an award of
21   prejudgment interest at the applicable legal rate.
22      68. As a result of the aforesaid willful violations of the FLSA’s minimum
23   wage provisions, minimum wage compensation has been unlawfully
24   withheld by Defendants from Plaintiff and all similarly situated employees.
25   Accordingly, Defendants are liable under 29 U.S.C. § 216(b), together with an
26   additional amount as liquidated damages, pre-judgment and post-judgment
27   interest, reasonable attorneys’ fees, and costs of this action.
28

                                             - 14 -
                                           Complaint
Case 3:15-cv-01090-WQH-BGS     Document 1    Filed 05/14/15   PageID.15   Page 15 of
                                      19



 1
       WHEREFORE, Plaintiff and all similarly situated delivery drivers demand
 2
     judgment against Defendants and request: (1) compensatory damages; (2)
 3
     liquidated damages; (3) attorneys’ fees and costs as allowed by Section 16(b)
 4
     of the FLSA; (4) pre-judgment and post-judgment interest as provided by law;
 5
     and (5) such other relief as the Court deems fair and equitable.
 6
                  Count II: Violation of California Labor Code § 2802
 7
       69. Plaintiff reasserts and re-alleges the allegations set forth above.
 8
       70. Labor Code § 2802(a) provides: “An employer shall indemnify his or
 9
     her employee for all necessary expenditures or losses incurred by the
10   employee in direct consequence of the discharge of his or her duties.…”
11     71. At all relevant times herein, Defendants, by virtue of their mileage
12   reimbursement policies and practices, failed to indemnify Plaintiff and the
13   Class appropriately for all necessary automobile expenses that Plaintiff and
14   the Class incurred while performing work for Defendants.
15     72. Plaintiff and the Class incurred substantial out-of-pocket losses because
16   of Defendants’ failure to reimburse Plaintiff and the Class appropriately for all
17   necessary automobile expenses that Plaintiff and the Class incurred while
18   performing work for Defendants. To date, Defendants have failed to
19   indemnify Plaintiff and the Class for these out-of-pocket losses.
20     73. Under Labor Code § 2802(c), Plaintiff and the Class are entitled to
21   recover all reasonable costs, including attorneys’ fees, incurred in enforcing
22   their rights granted by Labor Code § 2802.
23     WHEREFORE, Plaintiff and the Class demand judgment against
24   Defendants and request: (1) indemnification to Plaintiff and the Class for
25   necessary expenditures or losses they incurred in the direct consequence of
26   the discharge of their duties for Defendants; (2) attorneys’ fees and costs as
27   allowed by Section 2802(c) of the Labor Code; (3) pre-judgment and post-
28

                                            - 15 -
                                          Complaint
Case 3:15-cv-01090-WQH-BGS       Document 1   Filed 05/14/15   PageID.16   Page 16 of
                                        19



 1
     judgment interest as provided by law; and (4) such other relief as the Court
 2
     deems fair and equitable.
 3    Count III: Violation of California Labor Code §§ 1194, 1194.2, 1197, 1197.1,
 4             and IWC Minimum Wage Order and Wage Order No. 5
 5      74. Plaintiff reasserts and re-alleges the allegations set forth above.
 6      75. Pursuant to Labor Code §§ 1194, 1194.2, 1197, and 1197.1, it is unlawful
 7   for an employer to suffer or permit a California employee to work without
 8   paying wages at the proper minimum wage for all time worked, as required
 9   by the applicable IWC Minimum Wage Order and Wage Order No. 5.
10      76. At all relevant times herein, Plaintiff and the Class nominally
11   performed work for at or near the California minimum wage.
12      77. At all relevant times herein, Defendants continually failed to reimburse
13   Plaintiff and the Class for all necessary, automobile expenses that Plaintiff and
14   the Class incurred while performing work for Defendants, causing the total

15
     hourly compensation paid to Plaintiff and the Class continually to fall below

16
     the state minimum wage.

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        78. At all relevant times herein, under the provisions of the IWC Wage

18
     Orders, Plaintiff and the Class should have received not less than the

19
     minimum wage in a sum according to proof for the time worked but not

20
     compensated.

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        79. For all time that Plaintiff and the Class worked and received less than

22
     the state minimum wage, they are entitled to no less than the state minimum

23
     wage, and pursuant to Labor Code § 1194.2(a), liquidated damages in an

24
     amount equal to the unpaid minimum wage and interest thereon. Pursuant to

25
     Labor Code § 1194, Plaintiff and the Class are also entitled to their attorneys’

26
     fees, costs, and interest according to proof.

27
        WHEREFORE, Plaintiff and the Class demand judgment against
     Defendants and request: (1) payment of minimum wage in an amount
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                                             - 16 -
                                           Complaint
Case 3:15-cv-01090-WQH-BGS       Document 1    Filed 05/14/15   PageID.17    Page 17 of
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 1
     according to proof; (2) liquidated damages; (3) attorneys’ fees and costs as
 2
     allowed by Section 1194.2(a) of the Labor Code; (4) pre-judgment and post-
 3
     judgment interest as provided by law; and (5) such other relief as the Court
 4
     deems fair and equitable.
 5
      Count IV: Violation of California Business & Professions Code § 17200, et
 6
                                              seq.
 7
        80. Plaintiff reasserts and re-alleges the allegations set forth above.
 8
        81. Defendants’ violations of the Employment Laws and Regulations as
 9
     alleged herein, including Defendants’ failure and refusal to indemnify
10   Plaintiff and the Class appropriately for necessary automobile expenses they
11   incurred and Defendants’ failure to pay minimum wages to Plaintiff and the
12   Class constitute unfair business practices in violation of California Business &
13   Professions Code § 17200, et seq.
14      82. As a result of Defendants’ unfair business practices, Defendants have
15   reaped unfair benefits and illegal profits at the expense of Plaintiff, the Class,
16   and the public. Defendants should be made to disgorge their ill-gotten gains
17   and restore such monies to Plaintiff and the Class.
18      83. Defendants’    unfair   business    practices   entitle   Plaintiff   to   seek
19   preliminary and permanent injunctive relief, including but not limited to
20   orders that Defendants account for, disgorge and restore to Plaintiff and the
21   Class the compensation and reimbursement unlawfully withheld from them.
22      WHEREFORE, Plaintiff and the Class demand judgment against
23   Defendants and request: (1) disgorgement of profits garnered as a result of
24   Defendants’ unlawful failure to indemnify necessary, automobile expenses
25   and pay minimum wages and other compensation earned; (2) restitution
26   under Business & Professions Code § 17200, et seq.; (3) permanent injunctive
27   and declaratory relief under Business & Professions Code § 17200, et seq.; (4)
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                                             - 17 -
                                           Complaint
Case 3:15-cv-01090-WQH-BGS      Document 1    Filed 05/14/15   PageID.18   Page 18 of
                                       19



 1
     pre-judgment and post-judgment interest as provided by law; and (5) such
 2
     other relief as the Court deems fair and equitable.
 3
                                  Demand for Jury Trial
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       Plaintiff hereby requests a trial by jury of all issues triable by jury.
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                                            - 18 -
                                          Complaint
Case 3:15-cv-01090-WQH-BGS     Document 1      Filed 05/14/15   PageID.19   Page 19 of
                                      19



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 2   DATED: May 14, 2015                      Respectfully submitted,
 3
     PAUL McINNES LLP                          WATTS GUERRA LLP
 4
     Richard M. Paul III
 5   Jack D. McInnes                              /s/ Ryan Thompson
     (pro hac vice application forthcoming)    Ryan Thompson
 6
     601 Walnut, Suite 300                     525 South Douglas St., Suite 260
 7   Kansas City, Missouri 64106               El Segundo, California 90245
     Telephone: (816) 981-8100                 Telephone: (424) 220-8141
 8
     Facsimile: (816) 981-8101                 Facsimile: (424) 732-8190
 9   paul@paulmcinnes.com                      rthompson@wattsguerra.com
10
     WEINHAUS & POTASHNICK
11   Mark A. Potashnick
     (pro hac application forthcoming)
12
     11500 Olive Blvd., Suite 133
13   St. Louis, Missouri 63141
     Telephone: (314) 997-9150
14
     Facsimile: (314) 997-9170
15   markp@wp-attorneys.com
16
                          ATTORNEYS FOR PLAINTIFF
17

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                                           - 19 -
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